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                                                              U.S. DISTRICT COURT E.D.N.Y.
  RCH:AXB/LZ
  F. #2022R0 1030                                             * OCT O5 2023. *
  UNITED STATES DISTRICT COURT                                 LONG ISLAND OFFICE
  EASTERN DISTRICT OF NEW YORK
  ---------------------------X
  UNITED STATES OF AMERICA                                 INFORMATION

         -against-                                         Cr. No. 23-CR-197 (JS} (A YS}
                                                           (T. 18, U.S.C., §§ 371, 98l(a)(l)(C) and
  NANCY MARKS,                                              3351 et~.; T. 21, U.S.C., § 853(p); T.
                                                            28, U.S.C., § 246l(c))
                           Defendant.

  ---------------------------X
  THE UNITED STATES CHARGES:

                                          INTRODUCTION

                 At all times relevant to this Information, unless otherwise indicated:

  I.     Relevant Individuals and Entities

                 I.     Co-Conspirator# I, an individual whose identity is known to the United

  States, was a resident of Queens and Suffolk Counties. During the 2020 and 2022 election

  cycles, Co-Conspirator# I campaigned as a candidate for the United States House of

  Representatives (the "House"). On or about November 8, 2022, Co-Conspirator # I was elected

  the United States Representative for New York's Third Congressional District, which covered

  parts of Queens and Nassau Counties in the Eastern District of New York. Co-Conspirator #I

  was sworn into office on or about January 7, 2023.

                2.      The Campaign Committee, an entity the identity of which is known to the

 • United States, was Co-Conspirator #1 's principal congressional campaign committee.

                3.      The defendant NANCY MARKS was the treasurer of the Campaign

  Committee. MARKS provided additional services to the Campaign Committee through a
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                                                                                                    2

  political consulting company that she operated and which was located in Suffolk County, New

  York.

                 4.      National Party Committee #1, an entity the identity of which is known to

  the United States, was a national party committee headquartered in Washington, D.C. National

  Party Committee # l managed a program (the "Program") pursuant to which National Party

  Committee# I provided financial and logistical support for congressional candidates who

  qualified for the Program. The Program had three phases, each with its own qualifying criteria.

  To qualify for the second phase of the Program, congressional candidates were required, among

  other things, to demonstrate that their campaign committee had raised at least $250,000 from

  third-party contributors in a single quarter.

  II.     The Fraudulent Scheme

                 5.      During the 2022 election cycle, Co-Conspirator #I and the defendant

  NANCY MARKS devised and executed a fraudulent scheme to obtain money for the Campaign

  Committee by making various material misrepresentations and omissions to, among others, the

  Federal Election Commission (the "FEC"), National Party Committee #1 and the public.

                 6.      That is, in or about and between December 2021 and November 2022, Co-

  Conspirator # 1 and the defendant NANCY MARKS devised and executed a scheme to submit

  materially false reports to the FEC on behalf of the Campaign Committee in which they

  fraudulently inflated the Campaign Committee's fundraising numbers for the purpose of

  misleading the FEC, National Party Committee # 1 and the public. The purpose of the scheme

  was to qualify Co-Conspirator #1 for different phases of the Program and thereby receive

  financial and logistical support from National Party Committee # I (the "Party Program

  Scheme"). As part of the Party Program Scheme, Co-Conspirator # I and MARKS agreed to
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 - •• falsely report to ilieFlrC-ffiaffamiWmembers of Co~Conspirator#T andMARKS-hadnfade •

   significant financial contributions to the Campaign Committee, when Co-Conspirator #1 and

   MARKS both knew that these individuals had not made the reported contributions. Further, as

   part of the Party Program Scheme, Co-Conspirator #I and MARKS agreed to falsely report to

   the FEC that Co-Conspirator# l had loaned the Campaign Committee significant sums of money,

   when Co-Conspirator #1 had not made the reported loans and, in fact, did not have the funds

   necessary to make such loans at the time.

          A.      Agplicable Camgaign Finance Laws

                  7.      The Federal Election Campaign Act of 197 l. as amended, Title 52, United

   States Code § 30 IO I, et seq. (the "Election Act"), limited financial influence in the election of

   candidates for federal office and provided for public disclosure of the financing of federal

   election campaigns. The FEC was an agency of the United States entrusted with the

   responsibility of administering and enforcing the Election Act. To deter abuses and instill

   public confidence in the election process, the FEC was responsible for receiving and making

   available to the public specific, accurate information about, among other things, the amounts and

   sources of political contributions to federal candidates and political committees.

                  8.      The Election Act prohibited a federal candidate or an agent of a federal

   candidate from soliciting, receiving, directing or transferring funds in connection with a federal

  election unless the funds were subject to the limitations, prohibitions and reporting requirements

  of the Election Act.

                  9.      The Election Act limited the amount and sources of money that could be

  contributed to a federal candidate or a federal candidate's authorized campaign committee and

  political committees established and maintained by a national political party. In particular,
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   while candidates for federal office were permitted to give or loan their own campaigns unlimited

   sums of money, for the 2022 election cycle, other individuals were limited to contributing $2,900

  per primary election per candidate committee and $2,900 per general election per candidate

  committee.

                  10.     The Election Act prohibited a person from making a political contribution

   in the name of another person, including by giving funds to a "straw" or "conduit" contributor

  for the purpose of having the straw donor or conduit pass the funds on to a federal candidate as

  his or her own contribution. The Election Act expressly provided that contributions made

  through an intermediary were treated as contributions from the original source. The Election

  Act also prohibited a person from knowingly permitting his name to be used to effect such a

  conduit contribution.

                 11.      Pursuant to the Election Act, the FEC required authorized campaign

  committees, such as the Campaign Committee, to file periodic reports of receipts and

  disbursements identifying, among other things, each person or organization that made a

  contribution to such committee during the relevant reporting period whose contribution or

  contributions had an aggregate amount or value in excess of $200 within the election cycle,

  together with the date and the amount of any such contribution. These periodic reports, which

  were filed with the FEC for the FEC to make publicly available, were intended to provide the

  public with a record of all contributions to candidates for federal office in an effort to combat

  quid pro quo corruption or the appearance of quid pro quo corruption. As such, they constituted

  the public's primary window into the sources of funding for federal election campaigns.

         B.      The Party Program Scheme

                 12.      Throughout 2021, Co-Conspirator #1 and the defendant NANCY MARKS
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   sought for the Campaign Committee to report fundraising totals sufficient to meet the $250,000
              -   ---     --                            ··--   -   ----•                     ..
   threshold necessary to qualify for the second phase of the Program. For example, on or about

   April I, 2021, MARKS emailed Co-Conspirator# I and other agents of the Campaign

   Committee, stating, "Our goal is to go higher each quarter so as everyone is aware, it is to make

   [the Program]."

                        13.       For the third quarter of 2021, the Campaign Committee failed to qualify

   for the Program due, in part, to its failure to report $250,000 in contributions from third-party

  contributors in the quarter.

                        14.       On or about October 12, 2021, Co-Conspirator# 1 sent a text message to

  agents of the Campaign Committee, including the defendant NANCY MARKS, asking an agent

  to "check in with" an employee of National Party Committee #1 to determine why the Campaign

  Committee failed to qualify for the Program. An agent of the Campaign Committee responded

  to Co-Conspirator# 1 that "the only driver that matters is raising $250K (not loans or candidate

  contributions) in a single quarter," and "[i]t's really that simple though ... $2S0K raised from

  donors within a quarter. We haven't done that yet and that should be our focus."

  Co-Conspirator #1 replied, "We are going to do this a little different. I got it."

                               i. Fraudulent Year-End 2021 Report

                        15.      In or about and between December 2021 and January 2022, Co-

  Conspirator # 1 and the defendant NANCY MARKS conspired and agreed to falsely inflate the

  Campaign Committee's fundraising totals, including, but not limited to, in public filings with the

  FEC, in order to mislead the FEC, National Party Committee #1 and the public so that Co-

  Conspirator # 1 would qualify for the Program and receive financial and logistical support from

  National Party Committee # 1.
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                  16.    In furtherance of that scheme to defraud, on or about December 18, 2021,

   Co-Conspirator# I texted the defendant NANCY MARKS a list containing the names of family

   members of Co-Conspirator # 1 and MARKS, along with purported contribution amounts for

   each corresponding family member, for MARKS to enter into the Year-End 2021 Report to the

   FEC for the purpose of ensuring that the Campaign Committee appeared to reach the $250,000

   threshold necessary to qualify for the second phase of the Program. Contrary to the

   representations made by Co-Conspirator #I, none of the family members of Co-Conspirator # 1

   and MARKS had made, or ever did make, the listed contributions.

                  17.    Specifically, Co-Conspirator #1 's text message to the defendant NANCY

   MARKS on or about December 18, 2021 falsely stated the following non-existent contributions

   to the Campaign Committee: (a) a $5,800 contribution from Contributor #1, an individual whose

   identity is known to the United States; (b) a $5,800 contribution from Contributor #2, an

   individual whose identity is known to the United States; (c) a $5,800 contribution from

   Contributor #3, an individual whose identity is known to the United States; (d) a $5,800

   contribution from Contributor #4, an individual whose identity is known to the United States;

   (e) a $5,800 contribution from Contributor #5, an individual whose identity is known to the

  United States; (f) a $5,800 contribution from Contributor #6, an individual whose identity is

  known to the United States; (g) a $5,800 contribution from Contributor #7, an individual whose

  identity is known to the United States; (h) a $5,800 contribution from Contributor #8, an

  individual whose identity is known to the United States; (i) a $5,800 contribution from

  Contributor #9, an individual whose identity is known to the United States; and G) a $2,900

  contribution from Contributor# 10, an individual whose identity is known to the United States.

  Co-Conspirator #1 also texted MARKS: "These are the donations we spoke about last night
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   before we went to sleep. Total of $55,IO0. Let's talk Monday in person."

                  18.     On or about December 21, 2021, after the defendant NANCY MARKS

   texted Co-Conspirator # I seeking the .. list of donors - your family," Co-Conspirator# l again

   texted MARKS the names and purported contribution amounts of Contributor #I, Contributor

   #2, Contributor #3, Contributor #4, Contributor #5, Contributor #6, Contributor #7, Contributor

   #8, Contributor #9 and Contributor# I 0. This time, Co-Conspirator# 1 also included addresses

  and occupations for his relatives - information that Co-Conspirator #1 knew would be required

   for the Year-End 2021 Report to the FEC. That same day, MARKS emailed herself the content

  of this text message.

                  19.     In or about January 2022, Co-Conspirator# I repeatedly texted the

  defendant NANCY MARKS about ensuring that the Campaign Committee reached the $250,000

  threshold necessary to qualify for the second phase of the Program. Co-Conspirator# I advised

  MARKS that he "really would like to know the final numbers for the quarter.,, On or about

  January 31, 2022, Co-Conspirator# 1 asked MARKS "what did we figure out about the report,"

  and expressed that he was "lost and desperate."

                 20.      On or about January 31, 2022, the Campaign Committee submitted the

  Year-End 2021 Report to the FEC, with the defendant NANCY MARKS certifying that she had

  "examined this Report and to the best of my knowledge and belief it is true, correct and

  complete." The Year-End 2021 Report falsely reported the following contributions to the FEC:

                              Contributor # Amount Renorted             Date
                                     1                $5.800          12/31/21
                                     2                $2,900          12/31/21
                                     3                $5,800          12/31/21
                                     4                $2.900          12/31/21
                                     5                $5.800          12/16/21
                                     6                $5,800          11/15/21
                                     7                $5,800          12/31/21
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                                     8                $5,800          12/31/21
                                     9                $5,800           11/3/21
                                     10               $3.900          10/9/21

                 21.      The Year-End 2021 Report further falsely reported a contribution of

  $2,900 from another family member of the defendant NANCY MARKS, Contributor #11, an

   individual whose identity is known to the United States. These falsely reported contributions

  contained in the Year-End 2021 Report to the FEC totaled $53,200, causing the Campaign

   Committee to falsely claim total quarterly receipts of $251,549.68 and thereby surpass the

  $250,000 threshold necessary to qualify for the second phase of the Program. Co-Conspirator

  #I and the defendant NANCY MARKS knew that none of these reported contributions were

  true.

                       ii. Co-Conspirator #I Qualifies for the Second Phase of the Program

                 22.      Following the submission of the fraudulent Year-End 2021 Report to the

  •FEC, on or about February I 0, 2022, Co-Conspirator# I signed an application for the Program and

  caused it to be submitted to National Party Committee #I. The application noted that candidates

  accepted into the Program would be eligible for "additional campaign financial support," such as

  "hybrid ads, coordinated expenditures, focus groups, splitting the cost of polling, etc." Co-

  Conspirator # I also submitted a biography falsely asserting that he had worked for several

  prominent Wall Street financial institutions.

                 23.      On or about February 23, 2022, Co-Conspirator #I texted the defendant

  NANCY MARKS, "I GOT [THE PROGRAM]!"

                 24.      Based, in part, on its belief that the Campaign Committee had exceeded the

  $250,000 quarterly fundraising benchmark as reported in the Year-End 2021 Report to the FEC,
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  National Party Committee #I announced Co".Conspirator #1 as a candidate in the second phase of

  the Program on or about February 25, 2022.

                       iii. Fraudulent April 2022 Quarterly Report

                 25.       In or about and between March and April 2022, Co-Conspirator# I and the

  defendant NANCY MARKS continued to make efforts to falsely inflate the Campaign

  Committee's fundraising totals, including, but not limited to, in public filings with the FEC, in

  order to mislead the FEC, National Party Committee #1 and the public so that Co-Conspirator #1

  would qualify for all phases of the Program and receive financial and logistical support from

  National Party Committee #I. Co-Conspirator# l and MARKS agreed to falsely represent in

  presentations and communications with National Party Committee # I and in a quarterly

  submission to the FEC that Co-Conspirator # I had loaned the Campaign Committee $500,000,

  when, in fact, he had not.

                 26.      .In approximately March 2022, Co-Conspirator # I continued to express

  concern with ensuring that the Campaign Committee reported favorable fundraising totals in the

  first quarter of 2022. For example, on or about March 7, 2022, Co-Conspirator #1 texted an

  associate, "I have my back against the wall this quarter lol.,.

                 27.       Similarly, on or about March 15, 2022, Co-Conspirator #I texted another

  associate about the importance of the Campaign Committee reporting substantial fundraising

  totals for the purpose of ensuring he qualified for the Program and would receive the expected

  financial support from National Party Committee #I, stating: "I have a very important meeting at

  the end of this week with [National Party Committee #1). This meeting will decide if they will

  invest in my race & so we need to come in with very strong fundraising numbers. There are
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   several million dollars on the line with this, and having your name as a contributor to my

   campaign would be a very great help."

                  28.     On or about March 21, 2022, Co-Conspirator # I caused agents of the

   Campaign Committee to present a "Path to Victory" presentation to National Party Committee

   #1, which falsely represented to National Party Committee #I staff members that Co-Conspirator

   #I had loaned the Campaign Committee $500,000 during the first quarter of 2022. Further, the

   presentation listed as a "Key Factor" Co-Conspirator# I's "[p]ersonal and political capital that

   will allow for a fully-funded operation."

                  29.     When agents of the Campaign Committee inquired, Co-Conspirator #1

   falsely represented that he was, in fact, making the purported $500,000 loan to the Campaign

   Committee. For example, on or about March 30, 2022, an agent of the Campaign Committee

   texted Co-Conspirator# I: "Random: Did you get the wire done for the QI loan?" Co-

   Conspirator #I responded: "That's getting done tomorrow and it's not a wire, banker check.,,

   However, Co-Conspirator # I did not provide the Campaign Committee with a check for the

   purported $500,000 loan, nor did he wire transfer such funds at that time. Moreover, at that

   time, Co-Conspirator # I did not have the personal funds to cover such a loan.

                  30.    On or about April 13, 2022, the Campaign Committee further publicized

   inaccurate fundraising totals for the Campaign Committee for the first quarter of 2022, relying

   on the false representation by Co-Conspirator # I that he had loaned the Campaign Committee

   $500,000. Specifically, the Campaign Committee issued a press release 1n which it stated that

   the Campaign Committee would "report roughly $800,000 raised in QI, a significant sum in

   what is likely to be one of the most expensive races in the country."_ This statement of the

   fundraising totals of the Campaign Committee included the non-existent $500,000 loan
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   purportedly made by Co-Conspirator # I . The press release further reported that Co-Conspirator

   #1 had qualified for the second phase of the Program by National Party Committee # 1, "a sign of

   national [political party]growing interest and belief in the competitiveness of this seat."

                  31.       On or about April 15, 2022, the Campaign Committee submitted the April

   2022 Quarterly Report to the FEC, with the defendant NANCY MARKS certifying that she had

   "examined this Report and to the best of my knowledge and belief it is true, correct and

   complete." The April 2022 Quarterly Report to the FEC falsely reported that Co-Conspirator# I

   had loaned the Campaign Committee $500,000 on March 31, 2022. Co-Conspirator# I and

   MARKS did so for the purpose of making the Campaign Committee appear more financially

   sound than it was, knowing that the FEC, National Party Committee # I and the public would rely

   on the truth and accuracy of these reports.

                        iv. National Party Committee #I Provides Financial Support to the Campaign
                            Committee

                  32.       Based, in part, on the misrepresentations made by Co-Conspirator #1 and

   the defendant NANCY MARKS about the financial position of the Campaign Committee in its

   reports to the FEC, presentations to National Party Committee # 1 and public statements,

   National Party Committee # 1 announced that Co-Conspirator # I had qualified for the third and

   final phase of the Program cm or about June 14, 2022.

                  33.      As a result of Co-Conspirator# I's qualification for the third and final

   phase of the Program, National Party Committee #1 provided financial and logistical support to

  the Campaign Committee.

                  34.      For example, on or about September 27, 2022, National Party Committee

  # I and the Campaign Committee agreed to split the cost of a political poll, financial assistance
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   that Co-Conspirator# I knew to be a benefit derived from his qualification for the third and final

   phase the Program.

                   35.     Similarly, qualification for the third and final phase of the Program

   entitled Co-Conspirator #I to participate in joint fundraising committees with other qualified

   members of the Program. On or about September 28, 2022, the Campaign Committee and

   another political committee affiliated with Co-Conspirator #I received wire transfers from a joint

   fundraising committee for qualified members of the Program. On or about October 18, 2022,

   the Campaign Committee and another political committee affiliated with Co-Conspirator #I

   received a second round of wire transfers from a joint fundraising committee for qualified

   members of the Program.

                                         COUNT ONE
       (Conspiracy to Commit Offenses Against the United States- the Party Program Scheme)

                  36.     The allegations contained in paragraphs one through 35 are realleged and

   incorporated as if fully set forth in this paragraph.

                  37.     In or about and between December 2021 and November 2022, both dates

   being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant NANCY MARKS, together with others, did knowingly and intentionally conspire:

                          (a)     to knowingly and intentionally devise a scheme and artifice to

  defraud and to obtain money and property by means of one or more materially false and

  fraudulent pretenses, representations and promises, in violation of Title 18, United States Code,

  Section 1343;

                          (b)     to knowingly and willfully make one or more materially false,

  fictitious and fraudulent statements and representations in a matter within the jurisdiction of the
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   FEC, a department and agency of the United States Government, in violation of Title 18, United

   States Code, Section I 00 I(a)(2);

                          (c)     to knowingly conceal, cover up, falsify and make one or more false

   entries in a record and document, and cause others to do so, with the intent to impede, obstruct

   and influence the investigation and proper administration of a matter within the jurisdiction of

   the FEC, a department and agency of the United States Government, and in relation to and

   contemplation of such matter, in violation of Title 18, United States Code, Section 1519; and

                          (d)     to knowingly and intentionally transfer, possess and use, without

   lawful authority, one or more means of identification of another person, during and in relation to

   felony violations, to wit: wire fraud and false statements, knowing the means of identification

   would belong to another person, in violation of Title 18, United States Code, Sections

   1028A(a)(l), 1028A(b) and l028A(c).

                  38.     In furtherance of the conspiracy and to effect its objects, within the Eastern

   District of New York and elsewhere, the defendant NANCY MARKS, together with others, did

  commit and cause the commissi~n of, among others, the following overt acts:

              Angroximate Date                              Overt Act

            December 18, 2021           Text messages between Co-Conspirator # 1 and
                                        MARKS referenced in paragraphs 16 and 17.

            December 21, 2021           Text messages between Co-Conspirator #I and
                                        MARKS referenced in paragraph 18.

            December 21, 2021           Email from MARKS to herself referenced in
                                        paragraph 18.

            January 31, 2022            Submission by the Campaign Committee of
                                        Year-End 2021 Report to the FEC referenced in
                                        paragraph 20.
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             March 21, 2022              Presentation by agents of the Campaign Committee
                                         of"Path to Victory" presentation to National Party
                                         Committee # 1 referenced in paragraph 28.

             March 30, 2022             Text messages between Co-Conspirator #I and an
                                        agent of the Campaign Committee referenced in
                                        paragraph 29.

             April 13, 2022             Press release issued by the Campaign Committee
                                        referenced in paragraph 30.

             April IS, 2022             Submission by the Campaign Committee of April
                                        2022 Quarterly Report to the FEC referenced in
                                        paragraph 31.

                         (Title 18, United States Code, Sections 371 and 3S51 et seg.)

                                  CRIMINAL FORFEITURE ALLEGATION

                   39.       The United States hereby gives notice to the defendant that, upon her

   conviction of the offense charged herein, the government will seek forfeiture in accordance with

   Title 18, United States Code, Section 98l(a)(l)(C) and Title 28, United States Code, Section

   246l(c), which require any person convicted of such offense to forfeit any property, real or

   personal, constituting, or derived from, proceeds obtained directly or indirectly as a result of

   such offense.

                   40.      If any of the above-described forfeitable property, as a result of any act or

  omission of the defendant:

                            (a)     cannot be located upon the exercise of due diligence;

                            (b)     has been transferred or sold to, or deposited with, a third party;

                            (c)     has been placed beyond the jurisdiction of the court;

                            (d)     has been substantially diminished in value; or

                            (e)     has been commingled with other property which cannot be divided

  without difficulty;
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   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

   seek forfeiture of any other property of the defendant up to the value of the forfeitable property

   described in this forfeiture allegation.

                  (Title 18, United States Code, Section 981 (a)(l )(C); Title 21, United States Code,

   Section 853(p); Title 28, United States Code, Section 246l(c))




                                                       BiEON PEACE/
                                                       UNITED STATES ATTORNEY
                                                       EASTERN DISTRICT OF NEW YORK




                                                      ~W~fo~"'
                                                       CHIEF, PUBLIC INTEGRITY SECTION
                                                       U.S. DEPARTMENT OF JUSTICE
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F.11: 2022R0I0J0
FORMDBD-34                    No.
JUN.BS

                                     UNITED STATES DISTRICT COURT
                                                   EASTERN District of NEW YORK
                                                       CRIMINAL DIVISION

                                            THE UNITED STATES OF AMERICA
                                                                    vs.

                                                           NANCY MARKS,

                                                                                                 Defendant.

                                                        INFORMATION
                                (f. 18, U.S.C., §§ 371, 981(a)(l)(C) and 3351 et seq.; T. 21, U.S.C., §
                                                   853(p); T. 28, U.S.C., § 246l(c))

                                    A true bill.


                                                                                                   Foreperson


                              Filed in open court this _________________ .day.

                              of ____________ A.D. 20 ____ _


                                                                                                         Clerk


                              Bail,$ __________ _



                             Ryan C Harris I Laura Zuckerwise, Assistant U.S. Attorneys (718) 254-648916204
                                         Anthony BagnuolaAsslstant U.S. Attorney (631) 715-7849
                                      Jacob R. Steiner/ John P. Taddei, Trial Attorneys (202) 514-1412
